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    2020 Seasonal Report for the
    Shasta Cold Water Pool
    Management
    Central Valley Project, California
    California-Great Basin Region




U.S. Department of the Interior                                            December 2020
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        Mission Statements
        The Department of the Interior (DOI) conserves and manages the
        Nation’s natural resources and cultural heritage for the benefit and
        enjoyment of the American people, provides scientific and other
        information about natural resources and natural hazards to address
        societal challenges and create opportunities for the American people,
        and honors the Nation’s trust responsibilities or special commitments
        to American Indians, Alaska Natives, and affiliated island
        communities to help them prosper.

        The mission of the Bureau of Reclamation is to manage, develop, and
        protect water and related resources in an environmentally and
        economically sound manner in the interest of the American public.
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2020 Seasonal Report for the
Shasta Cold Water Pool
Management
Central Valley Project, California
California-Great Basin Region




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  Appendix B – 2020 Temperature Management Plan

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Purpose
This 2020 Seasonal Report for Shasta Cold Water Pool Management describes Shasta Dam
operations leading up to and through the 2020 cold water pool management season. This seasonal
report may support improvements, if necessary, to the Shasta Cold Water Pool Management
Guidance Document, and may also guide operations in the future. This seasonal report fulfills
commitments under the Record of Decision (ROD) signed by Reclamation for the Reinitiation of
Consultation on the Coordinated Long-Term Operations of the Central Valley Project (CVP) and
State Water Project (SWP) to produce a Seasonal Report for Shasta Cold Water Pool by the end of
December of each year. Additionally, this seasonal report will be used to support the development
of Reclamation’s Annual Summary of Water Supply and Fish Operations (Annual Report). Finally,
this document will inform the Four-Year Review Panels adopted under the ROD. The purpose of
the independent review will be to evaluate the efficacy of actions undertaken to reduce the adverse
effects on listed species.

Compliance with the National Marine Fisheries Service (NMFS) and the United States Fish and
Wildlife Service (USFWS) 2019 Biological Opinions’ Reasonable and Prudent Measures and
associated Terms and Conditions adopted by the aforementioned ROD will be documented and
discussed in the Annual Report and not in this document. Although this document strives to
provide an integrated view of the system and the factors affecting the coordinated operation of the
CVP and SWP, evaluation and discussion is focused on actions taken specifically by Reclamation for
Shasta Lake’s cold water pool management.


Background
Shasta Dam and Lake represent about 40 percent of the total reservoir storage capacity of the CVP
and are located in northern California near Redding (Figure 1). Reclamation operates Shasta Dam in
coordination with state and federal fishery agencies (NMFS, USFWS, and California Department of
Fish and Wildlife (CDFW)), the State Water Resources Control Board (SWRCB), tribal entities,
Western Area Power Administration, water contractors and other stakeholders, and in conjunction
with other CVP facilities to provide for the management of floodwater, storage of winter runoff for
irrigation in the Sacramento and San Joaquin valleys, Municipal and Industrial (M&I) water supply,
maintenance of navigation flows, protection of fish in the Sacramento River and Delta, and
hydropower generation.




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Figure 1. Shasta-Trinity System located in Northern California.



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Reclamation consulted under the Endangered Species Act (ESA) with the USFWS and NMFS on
potential effects of the Proposed Action on threatened and endangered species. Reclamation
submitted to these agencies a Biological Assessment on January 31, 2019. Reclamation provided the
final Biological Assessment on October 21, 2019, which included the final Proposed Action
description. In turn, the USFWS and NMFS issued their Biological Opinions of the Proposed
Action on October 21, 2019. Previously, management of the CVP and SWP operations was in part
governed by the Biological Opinions provided in 2008 (USFWS) and 2009 (NMFS). The Shasta
Cold Water Pool Management is a part of the Upper Sacramento Operations described in the
Proposed Action. Reclamation signed the ROD, which included the 2019 Biological Opinions from
USFWS and NMFS and began implementing the Proposed Action on February 18, 2020.

The ROD identified the following operational components to increase spring Shasta Lake storage
levels: (1) Fall and Winter Refill and Redd Maintenance, which sets minimum late fall and winter
flows, including coordination on rice decomposition operations; (2) a summer-fall Delta Smelt
habitat action that prioritizes meeting Delta outflow requirements through export management; (3)
flexibility in late-winter and spring export operations (especially in April and May); and (4)
December 2018 changes to COA. The ROD includes consideration of releasing spring pulse flows
of up to 150 thousand acre-feet (TAF) to support the migration of Chinook salmon subject to
whether the projected total May 1 Shasta Lake storage indicates a likelihood of sufficient cold water
to support summer cold water pool management, and the pulse does not interfere with the ability to
meet performance objectives or other anticipated demands on the reservoir.

The ROD established a tiered cold water management strategy for the summer and fall seasons,
based on the projected availability of cold water pool. The approach considers meteorology, Delta
conditions, and habitat suitability for incoming fish population size and location to determine a
pattern of water temperature targets for winter-run Chinook salmon redds. The tiered strategy
recognizes that cold water is a scarce resource that can be managed to achieve desired water
temperatures for winter-run Chinook salmon egg-to-fry survival.

The Shasta Cold Water Pool Management Guidance Document (Appendix A) provides
implementation guidance on the Sacramento River’s Cold Water Pool Management pursuant to the
ROD. The scope of guidance includes the deliverables, schedule, and processes of different teams to
implement operations for Cold Water Pool Management. The primary deliverables are Sacramento
River Temperature Task Group (SRTTG) notes, a monthly summary of the hydrologic, operational,
and water temperature data related to cold water pool management; the Sacramento Temperature
Management Plan (TMP), and documentation of the operations decisions. It is expected
Reclamation will manage requirements of the California State Water Resources Control Board
(SWRCB) Decision 90-5 separately.

SWRCB Water Rights Order 90-5 influences operations establishing a requirement for Reclamation
to operate Keswick Dam, Shasta Dam, Spring Creek Power Plant, and the Trinity River Division to
meet a daily average water temperature of 56°F on the Sacramento River at Red Bluff Diversion
Dam (RBDD) during periods when higher water temperatures will be detrimental to fish.




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Seasonal Operations

WY 2020 was a dry year with below average precipitation in several months, particularly in late
winter and early spring. In February, water temperature performance for the year was estimated to
be approximately between 54°F-56°F at the Sacramento River above Clear Creek gage (CCR) based
on projected May 1 total Shasta Dam storage and projected cold water pool conditions; in March
water temperature performance for the year was estimated to be poorer than approximately 54°F-
56°F at CCR. Because of lower than average precipitation, a Shasta Critical Year determination was
made on April 13, 2020. Development of Temperature Management Plan involves Temperature Tier
selection, which can be based on total Shasta Lake storage volume, Shasta Lake cold water pool
volume, or water temperature modeling results. In WY 2020, modeling determined the tier selection.
Temperature Tier 3 was selected for the Temperature Management Plan based on water temperature
modeling results and Reclamation began implementing the final Temperature Management Plan on
May 15, 2020. May precipitation was almost double the average (average May precipitation was 2.2
inches; WY 2020 precipitation was 4.3 inches). A Shasta Non-Critical determination was made on
June 8, 2020 based on DWR Bulletin 120 Forecast Update June 2, 2020. June precipitation was again
below average. Unusually warm air temperature conditions were also noted this year as well as
prolonged smoke and haze as a result of large, widespread, and persistent regional fires. Highly
variable warming and cooling trends again challenged water temperature management. The water
temperature management season ended on October 31, 2020; the daily average water temperature
performance exceedances for CCR and BSF compliance locations compared against the daily target
are shown in Table 4 of this section.



Operational Background Information
This section describes the 2020 ROD commitments, including guidance on how Reclamation
manages the cold water pool in Shasta Lake and the development of the Temperature Management
Plan. Additionally, a historical overview of climatic conditions is summarized.

Commitments of the 2020 ROD

Shasta Lake storage at the end of May affects Reclamation’s ability to meet the 53.5°F water
temperature target on the Sacramento River above Clear Creek for winter-run Chinook salmon
spawning and egg incubation throughout the water temperature management season. A greater
storage volume minimizes risks of higher water temperatures in the upper Sacramento River in the
late summer and fall. The approximate relationship between water temperature compliance, total
storage in Shasta Lake, and cold water pool in Shasta Lake is shown in Figure 2.




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Figure 2. Relationship between water temperature compliance, total storage in Shasta Lake, and cold
water pool in Shasta Lake.

Reclamation addresses cold water management utilizing a tiered strategy that allows for strategically
selected water temperature objectives, based on projected total storage and cold water pool,
meteorology, Delta conditions, and habitat suitability for incoming fish population size and location.
Reclamation manages water temperatures based on the following tiers, depending on the actual size
of the cold water pool in a given year:
    • Tier 1 – Sufficient volume of cold water to targets 53.5°F or lower starting May 15 through
        October 31
    • Tier 2 – Sufficient volume of cold water to target 53.5°F during critical egg incubation
        period
    • Tier 3 – A volume of cold water that can target 53.5-56°F during critical egg incubation
        period; and consideration of intervention measures in lower Tier 3 years
    • Tier 4 – Insufficient cold water to maintain 56°F or lower; and consideration of intervention
        measures

Reclamation is required to develop a Temperature Management Plan to describe how Reclamation
plans to operate Shasta Lake and the Temperature Control Device (TCD) on Shasta Dam consistent
with the 2020 ROD. Reclamation utilizes a conservative forecast in seasonal planning of reservoir
releases (including developing initial and updated allocations) and temperature management
planning, such that monthly release forecasts and associated allocations are typically based on a 90


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percent exceedance inflow forecast through September. Reclamation’s TMP uses modeling and
professional expertise to identify the most protective tier that can be achieved given the available
cold water. Before the reservoir stratifies and the volume of cold water is known, Reclamation
estimates temperature capabilities based on projections of storage.

Reclamation convened SRTTG meetings, starting in February, on a monthly basis to ensure
communication and coordination among the parties in preparation for the temperature management
season; SRTTG meeting notes can be found at: https://www.usbr.gov/mp/bdo/water-year-2020-
rivertask.html. Reclamation prepared projections of anticipated temperature management
capabilities on a monthly timestep to the SRTTG. In mid-February, Reclamation prepared initial
projections of anticipated temperature management capability and considerations based on the
February hydrologic and runoff forecasts from the Department of Water Resources and National
Weather Service River Forecast Center. Reclamation’s February projections showed that a potential
Tier 3 year was possible, but that below normal hydrology also made a Tier 4 year a possibility.
Reclamation initiated interagency coordination through the Drought and Dry Year activities and
stakeholder coordination through the Meet and Confer activities described in the 2020 ROD.

Reclamation drafted a preliminary draft TMP and submitted it to the SRTTG on April 23 for initial
review, comment, and discussion. The draft TMP balanced the most protective possible temperature
tier with what is achievable and sustainable with the volume of available cold water pool for the
duration of the temperature control period through October 31, 2020.

On May 20, 2020, Reclamation developed a final TMP (Appendix B) with substantial coordination
and input from the SRTTG. The TMP included temperature locations and targets through October
31, modeled winter-run Chinook salmon egg mortality, dates for operation of the side gates on the
TCD, and the end of September cold water pool. Further discussion of the final TMP is provided
below in the Summer/Fall Water Temperature Management section.


Historical Overview

Historic Shasta Lake storage volume (WY 2000 – 2020) is shown in Figure 3. In WY 2020, end of
May Shasta Lake storage volume was higher than the historic 20-year average (2000 – 2020 average:
3.3 million acre-feet (MAF); 2020 value: 3.5 MAF). Historic daily average air temperatures at Shasta
Dam (2000 – 2020) is shown in Figure 4. According to the National Weather Service, Redding,
California experienced above average air temperatures in the summer of 2020 (June 1st – August
31 st), with August 2020 being the fifth warmest month on record (1893 – 2020). The mean monthly
temperature of October 2020 was characterized as much above normal or as the record warmest in
northern California (Figure 4). Widespread wildfire activity throughout the summer impacted local
meteorological conditions including solar radiation and thermal influences. Smoke and haze were
unusually prevalent throughout August and September and likely dampened the effects of unusually
warm air temperature conditions on reservoir heating and downstream in-river warming.


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Figure 3. Daily average Shasta Lake storage from WY 1995 2000 - 2020. Source:
http://www.cbr.washington.edu/sacramento/data/query_river_allyears.html




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Figure 4. Mean Monthly Temperature Ranking of October 2020 for a period of record (1895 -
2010).


General Water Year Conditions and Operations
WY 2020 yielded below average rainfall and snow during the late winter and spring months. In
general, storage conditions in reservoirs were high in the fall of 2019 as a result of plentiful
hydrologic conditions the previous year. Despite a strong start at the beginning of the water year
with over 13 inches of precipitation recorded at Shasta Dam in the month of December, the
remaining months were particularly dry.

In December storage conditions were above the highest elevations allowed by the U.S. Army Corps
of Engineers (USACE). As a result, Keswick Dam releases were increased to make flood space for
flood control purposes to maintain an acceptable flood risk. February is typically one of the most
productive runoff months at Shasta Dam, however, in WY 2020 gauges measured zero precipitation
and inflows to Shasta Lake declined. Rain gauges reported a total of 34.5 inches for the water year, a



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startling difference between the prior wet year’s 89.3 inches for the water year. Precipitation in
March and particularly May recovered moisture in the system but fell short to make up for the lack
of storm events in February. Snowpack for the northern state was poor, reaching slightly above 50%
of the average of the April 1 snow water equivalent. The Sacramento Eight Station Index for WY
2020 reported 31.74 inches of precipitation for the region. Water supply indices reported the
Sacramento River Unimpaired Runoff was a “Dry” year for the Sacramento Valley Index (DWR
2020). Unusually warm air temperature conditions were also noted this year as well as prolonged
smoke and haze as a result of large, widespread, and persistent regional fires. Highly variable
warming and cooling trends again challenged water temperature management.

Operational decisions on the upper Sacramento River are influenced by local and CVP and SWP
system-wide multi-purpose objectives, including those that are planned and uncertain. Many factors
contribute to operational actions including, but not limited to forecasted inflows, facility
maintenance schedules, physical/mechanical facility limitations, upstream operations, minimum in-
stream flow criteria, downstream Delta regulatory requirements, Delta exports, power generation,
recreation, fish hatchery accommodations, water temperature management capabilities, and others.
In addition, uncertain or unplanned events can also influence real-time operation decisions (e.g.
wildfire events, or reservoir release reductions for USACE downstream flood protection). Planned
operational targets are regularly updated late winter through early summer depending on hydrologic
conditions on Reclamation’s website (https://www.usbr.gov/mp/cvo/).


Hydrologic Conditions
Watershed runoff in the upper Sacramento River basin is typically dominated by cold winter
precipitation that refills and replenishes both Shasta Lake’s total storage and the cold water pool.
The runoff is quantified as late spring through summer (April through July) inflow volume. The
Sacramento River watershed basin runoff forecasted inflow volume and its quality (i.e. water
temperature) is fundamental to operational planning. The inflow volume projection is updated
routinely by DWR and the National Weather Service-California Nevada River Forecast Center
(CNRFC), where uncertainty is represented by percent runoff exceedances (Figure 5). By May, water
supply forecasts for Shasta Lake inflow runoff ranged between 51% and 56% of the average for the
90% and 50% runoff exceedances, respectively (DWR 2020). The actual full natural flow of Shasta
Lake inflow volume April through July was 1.10 MAF and the final water year volume was 3.30
MAF (DWR 2020b).

Table 1 provides insight to the hydrologic characteristics of WY 2020. Because operational planning
is significantly influenced by future forecasts, these uncertainties and modified decisions are
translated into the performance and efficiency of the system-wide operation.




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Figure 5. WY 2020 forecasted (10%, 50%, 90% exceedance) and actual daily and cumulative inflow
volume at Shasta Lake. Source: https://www.cnrfc.noaa.gov/water_resources_update.php




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Table 1. WY 2020 Northern Sierra precipitation, Sacramento Basin snowpack, and Sacramento
Valley Index statistics by month.
 Water Year 2020 Northern Sierra Northern Sierra Sacramento                  Sacramento
 Month                 8-Station       8-Station           River Basin       Valley Index
                       Precipitation   percentage of       Snowpack          (40-30-30 Index
                       (Cumulative     historic            (percent          50%
                       water year in   monthly             of April 1st      Exceedance)
                       inches through average              average)
                       month)          precipitation
                                       (for month)
    November           2.3                30%                 NA                  NA

    December           13.0               116%                NA                  7.3

    January            17.8               54%                 34                  7.6

    February           17.8               0%                  48                  6.7

    March              24.0               83%                 39                  5.9

    April              26.8               74%                 58                  6.0

    May                31.1               195%                29                  6.0




Key Events/Decisions
The key events and decisions that influenced the 2020 upper Sacramento River Temperature
operations include:

•     Fall Keswick Release Pulsing: SRTTG members and SRSC coordinated a pilot operation (fall
      2019) to manage downstream delivery demand and fishery protection. By coordinating delivery
      of water required for rice decomposition in the fall, managers discouraged fall-run Chinook
      salmon from spawning at higher flow rates, thus reducing the potential to dewater redds once
      the water demand for rice decomposition has been met. This pilot operation was an attempt to
      meet multi-objective purposes in the system while continuing to minimize fishery impacts.
      Releases were pulsed from Keswick Dam to afford a larger volume of water for diversion
      downstream.
•     Flood Risk and USACE Flood Control Space Operations: Winter flood risk was elevated due to
      high Shasta Lake storage conditions in October 2019 through early January 2020. This influences
      Keswick Dam’s winter base flow release of 5,000 cfs to maintain the USACE flood control
      reservation for the winter season. Flood control reservation was maintained in December 2019




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    which resulted in higher releases from Keswick Dam during this period at 7,000 cfs. Per USACE
    criteria, no additional Shasta Lake storage could be retained at the end of December.
•   Operational Guidance: The ROD was signed on February 18, 2020. Prior to the signing of the
    ROD, the 2008/2009 USFWS and NMFS Biological Opinions were guiding operations.
•   Storms: While there was refill potential in Shasta Lake afforded by the USACE flood control
    curve, January through March 2020 yielded few storm events offering little chance for Shasta
    Lake refill.
•   Shasta Storage: By late March 2020, prior to agricultural demands/diversions, total Shasta Lake
    storage volume did not recover and refill as a result of dry hydrology and low inflow volumes. In
    addition, end of water year Shasta Lake storage condition was projected to be poor. End of
    water year Shasta Lake storage totaled 2.2 MAF, slightly greater than the average dry year storage
    of 2.1 MAF (see Figure 8 in the Storage and Flood Conservation Space section for dry year
    storage performance and averages).
•   Trinity River Diversion: Early spring forecasts suggested dry hydrologic conditions and low
    Shasta Lake elevations, which would make it difficult to maintain access to the TCD Upper
    Gates. In response to these forecasts, Trinity River Diversions were significantly increased for
    the entire season. This increase allowed water to remain in Shasta Lake while Trinity River water
    was used to augment Sacramento River flows and improve future Sacramento River temperature
    performance.
•   Spring Keswick Dam Release: Releases were reduced in the spring multiple times for storage
    conservation to rebuild Shasta Lake storage and the cold water pool, and to reach an elevation to
    access the TCD Upper Gates. More plentiful January storm events and runoff established Delta
    requirements for the month of February. These requirements affected Keswick Dam releases as
    February was unusually dry increasing the need for storage withdrawals to support Delta
    requirements in February and March. Keswick Dam releases increased in early April in response
    to increasing agricultural demands (see Figure 9 in the Storage and Flood Conservation Space
    section for dry year releases from Keswick Dam and averages).
•   TCD Upper Gates: Forecasts as late as April suggested no or minimal use of the TCD Upper
    Gates. Access to the TCD Upper Gates minimizes early use of the cold water pool and can
    extend the success of water temperature control for the cold water pool management season
    through the fall. A coordinated effort among SRTTG members and SRSC to reduce Keswick
    Dam releases and capture storage gains for the last significant storm event of the season, which
    occurred in mid-April, was successful. Shasta Lake storage improved and the Upper TCD Gates
    were used through the end of June.
•   Spring Pulse Determination: Per the Spring Pulse Flow criteria adopted in the ROD, since the
    projected and actual May 1 storage of Shasta Lake was less than 4 MAF (indicating insufficient
    cold water pool for Tier 1), a Spring Pulse flow was not pursued in order to protect the cold
    water pool and water temperature management performance for the 2020 season.
•   Shasta Critical Year Determination: In February, a Shasta Critical Year was announced (in part,
    based on projected Shasta Lake Inflow) which reduces the SRSC to 75% delivery allocation.



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    However, this determination was later reversed on June 8, 2020 as a result of improved
    hydrologic conditions. Although this late season Shasta Critical Year allocation adjustment is
    unusual, this minimally influenced the CVP Operational Outlooks, release and storage
    projections used in the development of the 2020 Sacramento River Temperature Management
    Plan.
•   Below Average Cold Water Pool Development at the Coldest Volumes: Water year 2020 cold
    water pool observations suggested below average development at the coldest volume, less than
    48°F (see Figure 10 in the Storage and Flood Conservation Space section for cold water pool
    development less than 48°F in WY2020 and averages). This influenced the 2020 Sacramento
    River Temperature Management Plan and conservative decision making for the season.
    Historical conditions of the CWP and water temperature performance are recorded in Table 2
    and Table 3 for comparison.
•   2020 Temperature Management Plan (TMP): Preliminary evaluation of likely Tiers began in
    February. In March, tools were developed to evaluate whether WY 2020 could fall into a Tier 2
    and Tier 3. A Tier 3 draft TMP was distributed in April, and a final Tier 3 TMP in May.
•   Summer Meteorological Conditions: Widespread wildfire activity throughout the summer
    impacted local meteorological conditions including solar radiation and thermal influences.
•   TCD Gates and Curtain Deployment: Deployment of the Middle Gate curtain prevented warm
    water leakage into the TCD, affording more confident temperatures downstream.

Table 2. Historical Shasta Lake Storage Volumes and Cold Water Pool Volumes in Thousands of
Acre Feet (TAF).
                        Shasta Lake Historical Storage Conditions 2010-2020

                Peak Storage        End of      Date 1st             End of September Volume
    Water                            April       Side
    Year                            Volume       Gate
             Volume       Date      < 56°F      Opened      Storage     < 56°F     < 52°F      < 50°F
    2010       4507       05/22       3771       09/17        3319        1216       744         516
    2011       4492       06/02       3809       N/A          3341        1340       903         707
    2012       4483       05/07       3791       09/21        2592         765       598         512
    2013       3887       04/18       2809       09/11        1906         425       347         309
    2014       2409       04/28       1770       08/07        1157         107        81          63
    2015       2722       04/15       1912       09/13        1603         358       270         228
    2016       4235       05/01       3267       10/23        2811         938       730         596
    2017       4389       05/13       3975       N/A          3382        1146       806         594
    2018       4200       04/26       3135       09/19        2405         607       485         388
    2019       4477       05/31       3441       N/A          3425        1203       907         707
    2020       3750       04/21       2986       08/13        2200         476       344         230




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Table 3. Historical Sacramento River Temperature Compliance Point Data
                 Sacramento River Historic Temperature Control Point 2010-2020
                 Daily Average Temperature - Degrees Fahrenheit (Days Applied)
  Year        Mar          Apr         May         Jun            Jul    Aug       Sep       Oct         Nov
                                      JLF-56°
                          BSF-56°     (01-10)
                          (01-14)     BSF-56°
  2010       BSF-56°
                          JLF-56°     (11-24)
                                                  JLF-56°    JLF-56°    JLF-56°   JLF-56°   JLF-56°     JLF-56°
                          (15-30)     JLF-56°
                                      (25-31)
  2011       BSF-56°      BSF-56°     BSF-56°     JLF-56°    JLF-56°    JLF-56°   JLF-56°   JLF-56°     JLF-56°
                          JLF-56°
                          (01-15)
  2012       JLF-56°
                          BSF-56°
                                      BSF-56°     JLF-56°    JLF-56°    JLF-56°   JLF-56°   BSF-56°     BSF-56°
                          (16-30)
                                      BSF-56°
                                      (01-16)
                                                   BSF-
                                                   1
                                                              BSF-
                                                              1
                                                                         BSF-
                                                                         1
                                                                                   BSF-
                                                                                   1
                                                                                             BSF-
                                                                                             1
                                                                                                         BSF-
                                                                                                         1
  2013       BSF-56°      BSF-56°       1
                                         BSF-
                                                  56.75°     56.75°     56.75°    56.75°    56.75°      56.75°
                                       56.75°
                                      (17-31)
             BSF-56°      CCR-58°
             (01-27)      (01-24)
  2014       CCR-58°      CCR-56°
                                     CCR-56°     CCR-56°     CCR-56°    CCR-56°   CCR-56°   CCR-56°     CCR-56°
             (28-31)      (25-30)
                          CCR-56°    CCR-58°     CCR-56°
                          (01-17)    (01-14)     (01-04)
  20152      CCR-56°
                          CCR-58°    CCR-56°     CCR-58°
                                                             CCR-58°    CCR-58°   CCR-58°   CCR-58°     CCR-58°
                          (18-30)    (15-31)     (05-30)
                                                 CCR-58°
                                                 (01-16)
  2016       CCR-58°      CCR-58°    CCR-58°
                                                 BSF-56°
                                                             BSF-56°    BSF-56°   BSF-56°   BSF-56°     BSF-56°
                                                 (17-30)
  20173      BSF-56°      BSF-56°     BSF-56°    BSF-56°     BSF-56°    BSF-56°   BSF-56°   BSF-56°     BSF-56°
  20184      BSF-56°      BSF-56°     BSF-56°    BSF-56°     BSF-56°    BSF-56°   BSF-56°   BSF-56°     BSF-56°
  20195      BSF-56°      BSF-56°     BSF-56°    BSF-56°     BSF-56°    BSF-56°   BSF-56°   BSF-56°     BSF-56°
                                      BSF-56°
                                                  BSF-56°
                                       CCR -
                                                   CCR -                          BSF-56°
                                       54.5°                 BSF-56°    BSF-56°
                                                 53.5° (1-                        (01-20)
  20206      BSF-56°      BSF-56°     (15-30)
                                                    29)
                                                              CCR -      CCR -
                                                                                  CCR-56°
                                                                                            CCR-56°     CCR-56°
                                       CCR -                   54°        54°
                                                 CCR - 54°                        (21-30)
                                       53.5°
                                                   (30)
                                        (31)
   1 BSF-56.75°F used as surrogate for Airport Road 56°F
   2 Year 2015 July – November the temperature target was 57°F, not to exceed 58°F
   3 Year 2017 pilot evaluation study also targeted CCR at 53°F May 15 – Oct 31
   4 Year 2018 pilot evaluation study also targeted CCR at 53.5°F May 15 – Oct 31
   5 Year 2109 pilot evaluation study also targeted CCR at 53.5°F May 15 – Oct 31 and Airport Road at

       53.5°F Aug 7 – Oct 31




                                                                                                         14
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   6Year2020 Temperature Management plan specified a target of 56°F at locations BSF and CCR per
      SWRCB WR90-5 requirements, targets at CCR are also listed as specified in the Temperature
      Management Plan
   BSF = Balls Ferry, JLF = Jelly’s Ferry, CCR = Sacramento River upstream of Clear Creek confluence



Storage and Flood Conservation Space
Actions taken in the late fall and early winter of WY 2020 prior to the signing of the ROD on
February 18, 2020 also influenced the storage conditions of Shasta Lake. Shasta Lake storage was
controlled by USACE flood reservation space requirements late fall and early winter (Figure 6 and
Figure 7). No additional water could be stored in Shasta Lake as a result of these requirements in
December 2019. Due to dry hydrology following December 2019, Shasta storage conditions did not
refill, end of April storage was 3.687 MAF. Compared to other dry water years (2000 – 2020), WY
2020 had higher storage volumes until mid-January (Figure 8). Further, compared to the average dry
water year (2000-2020), Keswick Dam releases were greater in the winter of WY 2020 (Figure 9).
WY 2020 cold water pool observations suggested below average development at the coldest volume,
less than 48°F (Figure 10). This influenced of the 2020 Sacramento River Temperature Management
Plan and conservative decision making for the season. Historical conditions of the cold water pool
are recorded in Table 2.




                                                                                                       15
                                                         Shasta Lake and Sacramento River
                                                                     WY 2020
              30,000                                                                                                                                           5,000



              25,000                      FLOOD CONTROL                                                                                                        4,200
                                           RESERVATION


              20,000                                                                                                                                           3,400



              15,000                                                                                                                                           2,600
                                                                                                                                                                            Storage (TAF)




 Flow (cfs)
              10,000                                                                                                                                           1,800



               5,000                                                                                                                                           1,000



                  0                                                                                                                                            200
                   10/1   10/22   11/12   12/3   12/24   1/14   2/4   2/25   3/17   4/7   4/28     5/19   6/9     6/30   7/21    8/11    9/1   9/22   10/13
                                                                                     Date



                              Shasta Inflow                 Keswick Dam Release                  Shasta Storage                 Allowable Storage (Flood Control)

Figure 6. Shasta Lake Storage (black line), Allowable Storage for Flood Control (green line), Keswick Dam Release (dark blue line), and
                                                                                                                                                                                            Case 1:20-cv-00431-DAD-EPG Document 369-2 Filed 01/24/22 Page 23 of 60




Shasta Inflow (light blue line) for 10/1/2019 - 10/31/2020.



                                                                                                                                                                       16
                                                        Keswick Dam Release to Sacramento River
                                                                       WY 2020
                14000
                        Fall Pulsing Pilot to deliver    USACE Flood         Increased Release for
                        water, meet Fall X2, and            Control                                                              Peak Diversion Demand
                                                                             downstream diversions
                        discourage Fall Run               Reservation
                12000
                        Chinook Salmon spawning          Management
                        at higher flow rates.

                10000



                 8000                                                                                  Flow Increase for Delta
                                                           Flow Increase for Delta                         Requirements
                                                               Requirements




   Flow (cfs)
                 6000
                                                                                                Flow reduction for storage
                                                                                                      conservation
                 4000
                        Flows to protect
                        from Fall Run                                                       Coordinated Flow reduction for
                 2000
                        dewatering and                                                       storage conservation during
                        Storage                                                               storm to increase storage
                        Management             Flow reduction for storage                      above TCD Upper Gates
                                                     conservation
                    0
                     10/1 10/22 11/12 12/3 12/24 1/14         2/4    2/25   3/17     4/7 4/28   5/19   6/9   6/30   7/21     8/11   9/1   9/22 10/13
                                                                                       Date

                                                                    Keswick Dam Release

Figure 7. Sacramento River Releases from 10/1/2019 - 10/31/2020 with major events highlighted
                                                                                                                                                         Case 1:20-cv-00431-DAD-EPG Document 369-2 Filed 01/24/22 Page 24 of 60




                                                                                                                                                   17
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                                                                Historical Shasta Storage and WY2020
                                                                for Dry Water Year Types (2000-2020)
                               5,000,000
                               4,500,000
                               4,000,000
  Shasta Storage Volume (AF)




                               3,500,000
                               3,000,000
                               2,500,000
                               2,000,000
                               1,500,000
                               1,000,000
                                 500,000
                                        -
                                                  Oct     Nov     Dec        Jan       Feb    Mar          Apr   May     Jun        Jul     Aug      Sep
                                                                                                   Month

                                        2001             2002         2007         2009            2013          2020          Average Dry Year Storage

Figure 8. Historical Shasta Storage and WY2020 for Dry Water Year Types (2000- 2020).



                                                  Keswick Historical Monthly Average Release and WY2020
                                                           for Dry Water Year Types (2000-2020)
                               16,000
                               14,000
                               12,000
                               10,000
  Flow (cfs)




                                8,000
                                6,000
                                4,000
                                2,000
                                   0
                                            Oct         Nov     Dec      Jan       Feb       Mar          Apr    May     Jun        Jul     Aug       Sep
                                                                                                   Date

                                                   2000-01                   2001-02                  2006-07                  2008-09
                                                   2012-13                   2019-20                  Average Dry Year

Figure 9. Keswick Historical Monthly Average Releases and WY2020 for Dry Water Year Types
(2000-2020).




                                                                                                                                                    18
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                                           Shasta Lake Cold Water Pool Volume ≤48°F
                         Avg (1998-2019)        2014           2015        2016           2019            2020       2000

                 4500


                 4000


                 3500


                 3000
  Volume (TAF)




                 2500


                 2000


                 1500


                 1000


                  500


                    0
                     01/01   02/01   03/01    04/01    05/01   06/01   07/01      08/01   09/01   10/01     11/01   12/01

Figure 10. Shasta Lake cold water pool volume less than 48°F.


Fall and Winter Refill
Actions taken in the late fall and early winter of WY 2020 prior to the signing of the ROD on
February 18, 2020 also influenced the storage conditions of Shasta Lake. Fall flow reduction
schedule discussions with the fish agencies (NMFS, CDFW, and USFWS) and Reclamation began in
September 2019. Meetings took into consideration the needs of fish, Shasta Lake storage, and
downstream water needs (rice decomposition, Wilkins Slough, waterfowl habitat, Delta water
quality). Various flow reduction scenarios were developed with considerations and
recommendations for fisheries to: (1) avoid or minimize dewatering of winter-run Chinook salmon
redds; (2) reduce Keswick Dam releases quickly in order to minimize the potential for fall-run
Chinook salmon redd dewatering; (3) stabilize Keswick Dam releases through approximately January
2020 to continue to minimize the potential for fall-run Chinook salmon redd dewatering; and (4)
maintain base flows of 5,000 cfs or greater to preserve juvenile winter-run Chinook salmon rearing
habitat and decrease juvenile stranding.

SRTTG members and SRSC coordinated a pilot operation in fall 2019 to manage downstream
delivery demand and fishery protection (Figure 7). In 2019, managers discouraged fall-run Chinook
salmon from spawning at higher flow rates by releasing short flow pulses during the delivery period,



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thus reducing the potential for fall-run Chinook to build redds in areas intermittently watered by the
higher flow peaks. When releases to meet diversion demand for rice decomposition had been met,
flows remained at the base release for the remainder of fall-run Chinook salmon egg incubation
period. This operation was an attempt to meet multi-objective purposes in the system while
continuing to minimize fishery impacts.


Spring Pulses
Releases from Keswick Dam were reduced in the spring multiple times for storage conservation to
rebuild Shasta Lake storage and the cold water pool, and to reach an elevation to access the TCD
Upper Gates (Figure 7). More plentiful January storm events and runoff established Delta
requirements for the month of February. These requirements resulted in increased Keswick Dam
releases as February was unusually dry, increasing the need for storage withdrawals to support Delta
requirements in February and March. Keswick Dam releases also increased in early April in response
to increasing agricultural demands (Figure 7).

At the April 23, 2020 SRTTG meeting, representatives from the Sacramento River Spring Pulse
Team presented a proposal for a spring pulse flow and the group discussed pulse study alternatives
and tradeoffs. Although projected Shasta Lake storage for May did not meet the initial criteria for a
spring pulse (e.g. projected May 1 storage was less than 4 MAF indicating insufficient cold water
pool for Tier 1), the proposal was still discussed as the 2020 ROD allows for coordination with the
Upper Sacramento Scheduling Team to consider a pulse when the reservoir is less than 4 MAF, and
the pulse would not interfere with the ability to meet performance objectives or other anticipated
operations of the reservoir. Future TMPs will routinely include a spring pulse flow analysis as
specified in guidance documentation. During the Water Operation Management Team (WOMT)
discussion on May 6, 2020, members recommended no spring pulse flow for 2020 due to
Sacramento River water temperature risk concerns (WOMT notes can be found at
https://usbr.gov/mp/bdo/water-operations-management.html). Reclamation did not include a
spring pulse in the 2020 TMP.

Under the ROD, Reclamation may release spring pulse flows of up to 150 TAF in coordination with
the Upper Sacramento Scheduling Team when the projected total May 1 Shasta Lake storage
indicates a likelihood of sufficient cold water to support summer cold water pool management, and
the pulse does not interfere with the ability to meet performance objectives or other anticipated
operations of the reservoir. Reclamation may implement a spring pulse flow under certain
hydrologic conditions to improve the survival of out-migrating juvenile salmonids, specifically
Central Valley spring-run Chinook salmon.


Summer/Fall Water Temperature Management
The following section describes conditions and actions taken to manage the risk associated with
summer and fall water temperature management. Water temperature management is implemented
within the context of future uncertain conditions and limited resource availability. To address
uncertainty, conservative estimates of future conditions are used in the modeling assumptions (e.g.
hydrology, operations, and meteorology) and projections are updated regularly through the



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management period. A tiered strategy is applied in limited cold water pool years to strategically
apply temperature objectives. Risk management incorporates these components aims to achieve the
goal of minimizing undesirable temperature effects for the entire season.

February

Storage conditions and trending hydrology in the late winter months can offer some insight on the
trajectory of the cold water pool management but should be interpreted cautiously due to variable
hydrology during this time. The most productive months for storms, runoff and inflow to Shasta
Lake are in the late winter and spring. Keswick Dam releases are traditionally at their lowest point of
the year in this period, supporting minimum flows, Delta exports, and Delta requirements. Although
counterintuitive, drier hydrologic years can require higher than normal releases from storage to
support downstream Delta requirements in the late winter and early spring, prior to increased
releases for agricultural diversion beginning in mid-April. Additional releases can undermine goals to
increase storage, however, hydrology is generally the most significant parameter that drives reservoir
refill and cold water pool replenishment in the late fall through spring period. In February 2020,
Shasta Lake storage recovery was low, inflow performance was unusually low due to unusually dry
conditions and forecasts suggested dry hydrological trends. Releases from Keswick Dam were used
to maintain flows to protect dewatering fall-run Chinook salmon redds, increasing storage in Shasta
Lake per USACE Flood Control Reservation Management, and delta requirements (Figure 7).
Keswick Dam releases were reduced for storage conservation in February. Coincident in the same
period, releases were increased for Delta requirements (SWRCB D-1641 requirements with outflow
targeting 11,400 cfs for the entire month). Very dry hydrology in February 2020, as flood storage
reservation relaxed, resulted in low Shasta Lake storage conditions at the end of the month.
To examine future in-stream temperature performance in February, two forms of insight to future
cold water pool management were assessed: (1) Relationship between total Shasta Lake storage/cold
water pool and potential future temperature compliance; and (2) preliminary water temperature
model simulation results. Water temperature performance for the year was estimated to be
approximately between 54°F-56°F at Clear Creek River gage (CCR) based on projected May 1 total
Shasta Dam storage and projected cold water pool conditions. Preliminary water temperature
simulations were characterized as runs ruling out particular Tiers and did not necessarily depict
operations. At this time, use of the Upper TCD gates was limited due to existing and projected
Shasta Dam storage conditions. Modeling results suggested that attempting to meet a Tier 1
condition (maintaining 53.5°F at CCR for the entirety of the temperature management season) was
infeasible as the projected end of September cold water pool volumes indicated a loss of
temperature management control in the fall. Additional modeling suggested that a lower tier than
Tier 4 was feasible; results found maintaining 56°F at CCR for the water temperature management
season was achievable with a projected end of September cold water pool volume sufficient to
sustain the fall cold water pool target. By process of elimination, Tier 2 and Tier 3 were viable
possibilities.


March
March is typically a storage and cold water pool building month. However, in March 2020, Shasta
Lake storage recovery gained only approximately 52 TAF for the month; Delta conditions
experienced the lag of February’s lack of precipitation. Keswick Dam releases were again reduced



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for storage conservation but were countered by flow increases for Delta salinity requirements. In
March 2020, low seasonal storage was expected as significant precipitation opportunities dwindled
and use of the TCD Upper Gates was assumed unachievable due to existing and projected Shasta
Lake storage conditions. All Upper and Middle TCD gates were open due to elevation restrictions
for the TCD.

Shasta Critical Year type designation occurs at this time, and this year determination was too close to
the threshold to determine with certainty the type of year. Based on guidance, no plans to initiate
intervention discussions were needed as the March 90% runoff exceedance forecast suggested a May
1 storage condition of greater than 2.5 MAF. Two forms of insight to future cold water pool
management were again assessed: (1) Relationship between total Shasta Lake storage/cold water
pool and potential future water temperature compliance; and (2) preliminary water temperature
model simulation results. Water temperature performance for the year was estimated to be higher
than approximately 54°F-56°F at CCR based on projected May 1 total Shasta Lake storage and
projected cold water pool conditions. Similarly, modeling runs were performed to rule out particular
Tiers and did not necessarily depict operations. Modeling results suggested that attempting to meet a
Tier 1 condition (i.e. maintaining 53.5°F at CCR for the temperature management season) was
infeasible, as the projected end of September cold water pool volumes indicated a loss of water
temperature management control in the fall. Additional modeling suggested that a Tier 4 was
feasible; results found maintaining 56°F at CCR for the water temperature management season was
achievable, but the projected end of September cold water pool volume was insufficient to sustain
the fall target.

In conjunction with SRTTG members input, activities in March highlighted the development of the
Temperature Tier Selection Protocol (TTSP). The TTSP is designed to serve SRTTG as a tool in
defining the Tier 2 and Tier 3 alternatives (specifically the timing and magnitude of the temperature
target). As a result of the flexibility offered in Tier 2 and Tier 3, a structured approach (borrowing
similar logic of the American River process to inform water temperature management) was
established to evaluate limited cold water pool conditions and prioritize in-river cooling timing
scenarios to maximize winter-run Chinook salmon benefit. Key features of the TTSP include:

   •   Bound exploration of scenarios between Tier 1 and Tier 4, and
   •   Incrementally explore Shasta Lake tail-bay temperature target scenarios by evaluating:
           o Down-stream temperature predicted performance,
           o End of September predicted cold water pool volume,
           o Estimated use of the TCD Side Gates, and
           o Estimated Life Stage-dependent and Life Stage Independent: Temperature
              Dependent Mortality

Goals include selecting a scenario that minimizes water temperature dependent mortality, presents a
feasible TCD operation, and minimizes the risk of degrading expected performance of the selected
Tier (i.e. shifting to a warmer Tier). Preliminary definitions of Tier 2 and Tier 3 were formulated;
however, they are not finalized. Recommendations for the future include refinements, when
additional biological information becomes available.




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April
In early April a moderate sized storm event opportunity was seized, supported by cooperation from
SRTTG members and SRSC, and resulted in (albeit minor) release reductions and significant (just
enough) storage gains to reach utilization of the TCD Upper Gates. This event proved to be a
pivotal turning point in the success of the Sacramento River temperature management for the 2020
season. Despite improved storage, cold water pool volumes were closely monitored as the coldest
volume (less than or equal to 48°F) showed diminished volumes in comparison to past years (e.g. as
shown in Figure 10, in April 2020, cold water pool volume less than or equal to 48°F is
approximately half of the average volume, tracking close to 2016). Due to continued uncertainty and
the indices proximity to thresholds, a Shasta Lake Critical year determination was announced as
likely, but not finalized. Spring Pulse flows were also considered despite guidance that suggested
Shasta Lake storage conditions were insufficient; challenges included degradation to the cold water
pool impacting seasonal temperature performance and potential ACID dam facility issues due to
Keswick Dam releases at or in excess of 15,000 cfs. Based on guidance, no plans to initiate
intervention discussions were needed as the April 90% runoff exceedance forecast suggested a May
1 storage condition of greater than 2.5 MAF.

As with previous month’s evaluations, two forms of insight to future cold water pool management
were again assessed: (1) Relationship between total Shasta Lake storage/cold water pool and
potential future water temperature compliance; and (2) preliminary water temperature model
simulation results now considered in association with the TTSP process. Temperature performance
for the year was improved with April storage gains, and estimated to be approximately 54°F-56°F at
CCR based on projected May 1 total Shasta Lake storage and projected cold water pool conditions.
Modeling runs were performed via TTSP to explore within Tier performance. Modeling results (with
various scenarios) suggested a Tier 3 condition, maintaining 53.5°F at CCR for a portion of the
season, was feasible and projected end of September cold water pool volumes indicated maintained
water temperature management control in the fall with reasonable timing of TCD Side Gate use.
Considerable discussion covered the topics of timing of the TCD Side Gate use, uncertainty of the
meteorology, limitations of the water temperature model predictions in the fall, and confidence in
the end of September cold water pool/fall temperature performance relationship. Conservative
planning for operational targets were also discussed:

    •   Prioritize cold water pool resources, ideally to 53.5°F, during the winter-run Chinook salmon
        critical time frame (period centered on or about August 8, 2020)
    •   Target minimum end of September cold water pool volume less than 56°F (based on end of
        September cold water pool and downstream temperature performance relationships) to
        maintain 56°F at CCR from mid-September through the end of October: 460 TAF
    •   Delay the date of the first TCD Side Gate use: Approximate historical use for confidence in
        maintaining fall temperature control - August 20, 2020
    •   Minimize winter-run Chinook salmon estimated water temperature dependent mortality

Technical assistance from SRTTG members was used to evaluate feasible scenarios. The proposal,
by construction, subjected additional performance risk by utilizing cold water pool earlier in the
season when conditions are still uncertain, rather than taking on additional risk later in the season
when conditions are more certain. A draft Sacramento River Temperature Management Plan was



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circulated to SRTTG membership for comment. The Temperature Management Plan proposed a
Tier 3 performance expectation given a volume of cold water pool/Side Gate use to support a target
of between 53.5°F and 56°F during the critical egg incubation period at CCR.

May
May initiates the end of typical significant precipitation/runoff, and begins climatic warming and the
initial inspection of actual stratified cold water pool volume in Shasta Lake (Figure 11). A Shasta
Critical Year determination was again delayed due to continued uncertainty and indices proximity to
the threshold. In May a decision was made to prioritize Tier 3 temperature performance above a
spring pulse flow; no additional releases were planned for the spring pulse flow due to water
temperature management concerns. Based on guidance from the 2020 ROD, no plans to initiate
intervention discussions were needed as the May 1 storage condition was greater than 2.5 MAF, and
cold water pool conditions were less than 2.8 MAF; guidance suggested a Tier 2 condition (this
discrepancy is due in part to both modeling performance and further definition of Tier 2 and 3 as
previously mentioned).

                                            Shasta Lake Isothermobaths Plot - 2020
                                      <46              46-48             48-50           50-52           52-54
         4500
                                      54-56            56-58             58-60           60-62           62-64
                                      64-66            66-68             68-70           >70             Storage
         4000


         3500


         3000
Volume (TAF)




         2500


         2000


         1500


         1000


               500


                 0
                  01/01   02/01   03/01     04/01   05/01      06/01   07/01     08/01   09/01   10/01   11/01     12/01
Figure 11. Shasta Lake Isothermobaths Plot from January through October 2020.




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As with previous month’s evaluations, two forms of insight to future cold water pool management
were again assessed: (1) Relationship between total Shasta Lake storage/cold water pool and
potential future water temperature compliance; and (2) preliminary water temperature model
simulation results. Temperature performance for the year was again slightly improved with storage
gains and estimated to be solidly between 54°F-56°F at CCR based on actual May 1 total Shasta Lake
storage and cold water pool conditions. Modeling run results of Tier 3 performance, maintaining
53.5°F at CCR for a portion of the season, continue to demonstrate feasible solutions and projected
end of September cold water pool volumes suggesting maintenance of water temperature
management control in the fall with reasonable timing of TCD Side Gate use. The SRSC also
provided additional water temperature simulation modeling support for comparison. A final
Sacramento River Temperature Management Plan was submitted May 20, 2020.

Reclamation, in coordination with the SRTTG, chose scenario 148. While the TTSP showed other
scenarios may have had lower TDM estimates, these other scenarios did not provide a conservative
level of cold water volume at the end of September and/or these other scenarios relied on side gate
operations earlier in the season. Opening the side gates too early with insufficient cold water to
sustain downstream water temperatures for an extended period results in water temperature
warming that cannot be controlled in the fall period. Reclamation considered end of September cold
water pool and timing of the side gate operation in addition to modeled biological response in
selecting a more conservative approach over the duration of the water temperature management
season. Reclamation, in coordination with the SRTTG, chose the scenario having the most end of
September cold water pool for similar temperature dependent mortality and side gate criteria as
other scenarios evaluated using the TTSP.

The 2020 Temperature Management Plan was implemented beginning May 15, 2020 with the
detection of spawned-out female winter-run Chinook salmon. Predicted and actual Shasta Lake cold
water pool volumes were tracked as part of the implementation of the Temperature Management
Plan. Recommendations for further investigation include analysis of water temperature management
prior to the onset of spawning; preliminary analysis suggests cold water pool savings and benefits for
the fall period, but it is unknown what pre-spawning impacts may occur (further discussion on this
topic is provided in the Discussion section).

June through October
Real-time implementation of the 2020 Temperature Management Plan did not result in any
unexpected changes or deviations. In the late spring, runoff and Shasta Lake storage were better
than anticipated, improving end of September Shasta Lake storage conditions. June marked a final
determination by Reclamation of the Shasta water year type designation. A Shasta non-critical year
type was issued; however, due to the late season announcement, there was no significant change in
summer diversions, only fall increases in rice decomposition demand water in October and
November as a result of Fall Rice Decomposition Smoothing. Monthly simulated water temperature
modeling updates were provided to the SRTTG. Summer simulated model alternatives examined
delaying TCD Side Gate use or extending summer or fall cooler temperatures. Although
opportunities were sought to improve the Temperature Management Plan in early summer, in
general the plan was followed as expected as gains were lost as summer persisted. There were no
modifications or amendments to the 2020 Temperature Management Plan although an addendum to
the plan was circulated to SRTTG on July 31, 2020 and reflected current conditions through July 29,




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2020. A summary of Upper Sacramento River temperatures is shown in Figure 12. Change order
logs can be found in Appendix C.

The following challenge was illuminated:
     • A conservative methodology was applied when estimating water temperature dependent
         mortality for the TMP. This included using both the physical and empirical models for
         estimating water temperature in the Upper Sacramento River because there are limitations in
         the predictions of fall simulated water temperature in the physical model. The approach was
         to apply the most conservative information (warmest 90% confidence interval expected
         water temperatures) to project conservative temperature dependent mortality in the fall. At
         the request of SRTTG members, this methodology was applied consistently for comparison
         purposes when presenting results from both models throughout the temperature
         management season. However, this methodology can run counter to exploring benefits that
         are to be realized in the fall period
In addition, there were three notable events that influenced in-river conditions or real-time
operations including:
    • Widespread wildfire activity impacted local meteorological conditions including solar
        radiation and thermal influences. Smoke and haze were unusually prevalent throughout
        August and September and likely dampened the effects of warm air temperature conditions
        on reservoir heating and downstream in-river warming.
    • TCD Gates: On September 3-4, 2020, Reclamation’s Central Valley Office identified a warm
        water signal in the downstream data suggesting an issue with the Shasta Dam
        TCD. Reclamation’s Northern California Area Office operators sent a Remotely Operated
        Vehicle on September 4, 2020 to investigate and found TCD Middle Gate #2 and TCD
        Middle Gate #5 were not fully closed. These gates were reseated to the fully closed position
        on September 4, 2020. TCD Middle Gate #2 was partially seated from July 13, 2020 –
        September 4, 2020, and TCD Middle Gate #5 was partially seated from August 6, 2020 –
        September 4, 2020. Reclamation plans to confirm closure of the TCD Middle Gates in the
        future.
    • TCD Curtain Deployment: To support water temperature management and growing
        concerns of expected Shasta Dam TCD device performance, Reclamation decided to deploy
        the Middle Gate TCD curtain. Divers were onsite on September 9, 2020 to install curtains,
        and on September 16, 2020 divers completed deployment of the curtains. Deployment of
        the Middle Gate curtain prevents warm water leakage into the TCD, affording more
        predictable water temperatures downstream.




                                                                                                 26
                                                                              Sacramento River Temperature
                                                                                       WY 2020
                                  59
                                            May 15 - Oct 31 2020 Sac
                                        RiverTemperature Operation Plan
                                       (Oct 31 2019 - May 14 2019 showing
                                  57
                                               prior water year plan)

                                                                                  56˚F
                                  55



                                  53



                                  51



                                  49




   Mean Daily Water Temperature (˚F)
                                  47



                                  45
                                    10/1 10/22 11/12 12/3 12/24 1/14        2/4    2/25   3/17   4/7 4/28       5/19    6/9    6/30   7/21    8/11   9/1   9/22 10/13
                                                                                                   Date
                                          Balls Ferry   Sac R at CCR gage         Keswick Dam      Airport Rd          Daily Ave CCR Target Temp      Daily Ave BSF Target Temp
                                                                                                                                                                                       Case 1:20-cv-00431-DAD-EPG Document 369-2 Filed 01/24/22 Page 34 of 60




Figure 12. Summary of Upper Sacramento River Daily Mean Water Temperature in WY 2020.



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Daily Average Temperature and Temperature Targets
The daily average temperatures performance exceedance for CCR and BSF compliance locations
compared against the daily target are shown in Table 4. The average exceedance at CCR was 0.2°F,
and the average exceedance at BSF was 0.4°F.

Table 4. Daily Average Temperature Performance Exceedance for CCR and BSF.
         Daily Average Temperature Performance Exceedance for CCR and BSF
                   Sac R at CCR     Temp. Target        Balls Ferry    Temp. Target
                   CCR              CCR                 BSF            BSF
 Date              (°F)             (°F)                (°F)           (°F)
      5/21/2020               54.6                54.5            56.6           56
      5/22/2020               54.7                54.5            56.7           56
       6/4/2020               53.7                53.5
      6/10/2020               53.7                53.5
      7/11/2020               54.1                  54
      7/15/2020               54.2                  54
      7/16/2020               54.4                  54            56.1           56
      7/17/2020               54.1                  54
      7/28/2020               54.1                  54
      7/29/2020               54.2                  54
                a
      8/4/2020                54.1                  54
       8/5/2020               54.1                  54
       8/6/2020               54.2                  54
       8/7/2020               54.3                  54            56.1           56
      8/28/2020               54.1                  54
      8/29/2020               54.1                  54
      8/30/2020               54.3                  54
       9/1/2020               54.5                  54            56.4           56
       9/4/2020               54.1                  54
       9/8/2020               54.1                  54
      9/19/2020               54.1                  54
      9/20/2020               54.1                  54
    10/16/2020                56.1                  56

    Count                        23                                      5
    Min. Exceedance             0.1                                    0.1
    Max. Exceedance             0.5                                    0.7
    Ave. Exceedance             0.2                                    0.4
a
 8/4/2020 through 8/7/2020 exceeded three consecutive days. Prior notification was
unpredictable, Keswick release reductions and TCD operations were coincident 8/5/2020 through
8/7/2020.



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       Fisheries
The following section describes the Chinook salmon monitoring efforts undertaken during the WY
2020 temperature management season and juvenile Chinook salmon outmigration.

Chinook Salmon Spawn Timing and Distribution
Four distinct runs of Chinook salmon spawn in the Sacramento-San Joaquin River system, named
for the season when the majority of the run enters freshwater as adults. Fall-run Chinook salmon
migrate upstream as adults from July through December and spawn from early October through late
December. The timing of spawning varies with fall-run Chinook salmon spawning in northern
Central Valley streams earlier than the southern Central Valley streams. Late-fall-run Chinook
salmon migrate into the rivers from mid-October through December and spawn from January
through mid-April. The majority of young salmon of these races migrate to the ocean during the
first few months following emergence, although some may remain in freshwater and migrate as
yearlings. Spring-run Chinook salmon enter the Sacramento River from late March through
September. Adults hold in cool water habitats through the summer, then spawn in the fall from mid-
August through early October. Spring-run juveniles migrate soon after emergence as young-of-the-
year, or remain in freshwater and migrate as yearlings. Adult Sacramento River winter-run Chinook
salmon pass under the Golden Gate Bridge from November through May, and pass into the
Sacramento River from December through early August. Winter-run Chinook salmon spawn in the
upper mainstem Sacramento River from mid-April through August. Fry and smolts emigrate
downstream from July through March of the following year through the Sacramento River, reaching
the Delta from September through June of the following year.

Annual population estimates for the Upper Sacramento River Basin are determined through a
number of methodologies including carcass surveys, hatchery counts, aerial and in-stream redd
surveys, snorkel counts, angler interviews, and video, DIDSON (acoustic sonar) or Vaki
Riverwatcher counts in streams and in fish ladders.

Carcass surveys using modern mark-recapture methodologies were initiated in 1996 on the
Sacramento River above RBDD using jet boats. Traditionally, the Sacramento River carcass surveys
are conducted by boat, each having two or more observers. Three multi-month surveys are
conducted each year with crews normally on the river year-round. Survey protocols and methods
may change slightly in each survey, but in general terms, the protocols have remained similar since
2003. The late-fall-run Chinook salmon survey begins typically in mid-December and ends in early-
May. The winter-run Chinook salmon survey begins in late-April or early-May and ends in late-
August or early-September. The all/spring-run Chinook salmon survey begins in early-September
and ends in late-December or early-January. The beginning or end of each survey is determined by
the number of carcasses observed by the crews at those times. The spawn timing of each run can
vary by a few weeks each year so survey dates are flexible and can overlap from one survey to
another.

Aircraft are used to conduct monthly surveys for the late-fall-run and fall/spring-run Chinook
salmon redd distributions and during the winter-run Chinook salmon spawning period to conduct
surveys to enable detailed inspection of winter-run Chinook salmon spawning areas. Aerial redd
maps are created by staff on the flights to document the location of spawning areas and distributions
in the Sacramento River. These maps are used in conjunction with the corresponding carcass
surveys to expand the overall population estimate for each run of salmon. Aerial redd surveys do not


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provide complete counts of new redds. Variability in turbidity, river depth, riparian vegetation,
weather, and wind all affect the ability of the observer to count new redds. Not all redds that are
new are able to be counted but it is assumed that the proportion of redds visible in the various
sections during a single flight are identical. The aerial redd data should be used with caution and it is
recommended to use aerial redd data only for comparisons of redd distributions by river sections or
for specific needs such as use of a specific area as a spawning location.

Preliminary CDFW Upper Sacramento River Basin Salmonid Monitoring Program data for the 2020
temperature management season can be accessed on CalFish:
https://www.calfish.org/ProgramsData/ConservationandManagement/CDFWUpperSacRiverBasin
SalmonidMonitoring/tabid/357/Agg2208_SelectTab/4/Default.aspx

These data from the carcass and aerial redd surveys have not yet undergone CDFW’s final quality
control process to confirm or otherwise verify its accuracy. As a result, this draft data should not be
used, relied upon, or referenced in any way until finalized by CDFW. Upon data finalization by
CDFW, the draft data available on CalFish will be superseded and deleted. The preliminary data
reported here may not be released to any other entity without the express written permission of
CDFW.

The following CDFW preliminary information is presented for the 2020 carcass survey and aerial
redd survey data for spatial and temporal spawning distribution as it is applicable to Shasta Lake cold
water pool and water temperature management for winter-run Chinook salmon is also subject to
revision. This summary information is provided as context for focusing on Clear Creek as the spatial
water temperature compliance point with temporal compliance beginning May 15, or when the
SRTTG determines, based on real-time information, that winter-run Chinook salmon have spawned,
whichever is later, and concluding October 31, or when the SRTTG determines based on real-time
monitoring that 95 percent of winter-run Chinook salmon eggs have hatched, and alevin have
emerged, whichever is earlier.

The CDFW preliminary 2020 winter-run Chinook salmon carcass survey began on May 4th following
the same protocols and guidelines as in previous years, were conducted weekly, and concluded on
October 10th. Temporal distribution of carcasses is as follows: the first carcass was detected on May
6th (0.1% of the cumulative total), 1842 carcasses (50.1% cumulative) were detected by July 15th,
3500 carcasses (95.2% cumulative), were detected by August 12th, and 3,678 carcasses (100%
cumulative) were detected by September 24th.

The distribution of carcasses by area (Table 5) indicates that 42.7 percent of carcasses were collected
between Keswick Dam and the ACID Dam which is higher than the 2003-2019 average. The
percent of carcasses collected from the ACID Dam to the Highway 44 Bridge was 33.7% which is
lower than the 2003-2019 average of 38.7%. The percentage of carcasses collected from the
Highway 44 Bridge to the Clear Creek Powerlines was 20.2% and the percent collected from Clear
Creek Powerlines to the Balls Ferry Bridge was 3.4% which are generally similar to the 2003-2019
averages. These CDFW preliminary data are as of July 30, 2020 and are likely to be revised after
CDFW completes its QAQC process. Overall, 96.6% of carcasses were collected above the vicinity
of the Clear Creek temperature compliance point and 3.4% were collected below the vicinity of the
Clear Creek temperature compliance point. However, because carcasses are known to drift
downstream from the location where the fish spawned, these data are inconclusive as to whether
winter-run Chinook salmon spawned below the Clear Creek temperature compliance point. Aerial


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redd surveys provide another line of evidence for spawning distribution which should be considered
in conjunction with carcass survey data.

Table 5. Winter-run Chinook salmon carcass count by river area in 2020.




The first winter-run Chinook salmon aerial redd survey was conducted on May 27, 2020 and the
final survey was conducted on August 18, 2020. A total of 11 surveys were conducted weekly
through July 7, 2020 and bi-weekly from July 14, 2020 through August 12, 2020. The results of these
surveys indicate that redds distribution was concentrated upstream of the Highway 44 Bridge with
no indication of redd distribution below the vicinity of the Clear Creek temperature compliance
point (Table 6).

Table 6. Winter-run Chinook salmon aerial redd survey counts by river area in 2020.




The 2020 winter-run Chinook salmon redd distribution is consistent with the long-term trend of
redd distribution upstream of the Clear Creek temperature compliance point with the notable
exceptions 2019 (21% below CCR compliance point) and 2016 (22.2%) (Table 7).




                                                                                                 31
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Table 7. Percent of winter-run Chinook salmon redds downstream of CCR gauge near Bonnyview Bridge
(1989-2020).
             Percent of Winter-runs redds downstream of the CCR
  YEAR
                        gauge near Bonnyview Bridge
   2020                      In Progress but so far 0%
   2019                               21.0%
   2018                                0.5%
   2017                                0.0%
   2016                               22.2%
   2015                                0.0%
   2014                                2.4%
   2013                                0.2%
   2012                                0.0%
   2011                                0.0%
   2010                                1.8%
   2009                                0.0%
   2008                                0.2%
   2007                                5.9%
   2006                                7.1%
   2005                                5.7%
   2004                               19.3%
   2003                                8.2%
   2002                               13.8%
   2001                               26.7%
   2000                               39.0%
   1999                               38.4%
   1998                                9.2%
   1997                               10.0%
   1996                               16.3%
   1995                                5.7%
   1994                               56.3%
   1993                               25.0%
   1992                               46.3%
   1991                               10.0%
   1990                               39.4%
   1989                               25.5%
   1988                               58.3%

Preliminary results show an in-river spawner number between 3,900-4,000 fish. A final estimate will
be available shortly after completion of hatchery evaluation analysis and Livingston Stone National
Fish Hatchery data. Environmental conditions (mainly clear water) during the survey this year
allowed crews to collect more carcasses but also aided in recapturing the tagged carcasses. The final
estimate is based upon the recapture of marked carcasses with the greater the proportion of
recaptures resulting in a lower estimate than for 2019 despite more carcasses being collected in 2020.
As of September 1, 2020, the percentage of hatchery-origin winter-run Chinook salmon collected
during carcass survey was approximately 47% which is higher than desirable but not as high as the
years after the drought (80% for two years).



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Juvenile Chinook Salmon Outmigration
A natural winter-run Chinook salmon juvenile production estimate (JPE) is calculated annually and
historically has delivered late winter (January or February). There is not a current winter-run
Chinook salmon JPE for WY 2021 (Brood Year BY 2020). The JPE is typically available in January
or February each year. Estimated daily and biweekly passage of juvenile winter-run Chinook salmon
at Red Bluff Diversion Dam from 07/01/2020 to 11/03/2020 is shown in Figure 13. Historical and
current estimated passage of juvenile winter-run Chinook salmon at Red Bluff Diversion Dam (BY
2014 – BY 2020) is shown in Figure 14.




Figure 13. Daily and Biweekly (Total with 90% Confidence Interval) Estimates of Juvenile Winter-
run Chinook Salmon Passage at Red Bluff from 07/01/2020 - 11/03/2020.




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Figure 14. Historical and Current Estimated Passage of Juvenile Winter-run Chinook Salmon at Red
Bluff Diversion Dam (BY 2014 - BY 2020).


Operations Summary
Key events of the 2020 cold water pool temperature management season:
  • The 2020 Water Temperature Plan detailed a Tier 3 performance category and specified both
      temperature targets and locations.
  • Initiation of the water temperature management season began on May 15, 2020 with
      detection of spawned-out winter-run Chinook salmon females.
  • Opening of the first side gate on August 13, 2020.
  • End of September Cold water pool volume less than 56°F was 476 TAF.
  • Termination of the water temperature management season was on October 31, 2020. Firm
      data supporting a total population for year 2020 winter-run Chinook salmon population was
      unavailable in real-time to calculate the date of 95% hatch and alevin emergence.
  • No modification or amendment to the 2020 Water Temperature Plan was necessary.




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Performance
In order to determine the accuracy of the water temperature model (e.g. HEC-5Q) and the water
temperature-dependent egg mortality models (e.g. Anderson model and Martin models) used to
forecast Shasta Lake cold water pool operations, Reclamation performed a hindcast review of these
models using actual data observed.

Models
A discussion of the models used for temperature and temperature-dependent egg mortality, as well
as a discussion of how these models performed during the WY 2020 temperature management
season is included below.

Temperature Forecast and Hindcast
A seasonal water temperature forecast describes future expected downstream water temperature.
This forecast, or simulation of expected water temperature performance is based on the targets
specified in the TMP. Future water temperature is forecasted using computational tools, at various
elevations in the reservoirs and downstream in the river. These tools are based on conservative
assumptions regarding hydrology, operations and meteorology. Because this forecast (using
conservative estimates in April to estimate what might happen at the end of October) can never
exactly predict the actual hydrology, operations, and meteorology in advance, the model results are
not expected to precisely match actual water temperatures. The expectation is, however, that
forecasted downstream water temperature generally have an accepted measure of error regardless of
the uncertain future conditions. In this case, there are generally two types of simulation error;
uncertainty of the future conditions (e.g. inputs such as meteorology) and inherent model error or
bias. To better understand the inherent model error or bias, a hindcast evaluation is typically
performed. A hindcast, rather than looking forward to forecast, simply uses the actual input/forcing
data after it’s observed (e.g. hydrology, operations, and meteorology) to determine how well the
model reproduced a condition such as actual downstream water temperatures. This resulting analysis
describes how well the model performs given perfect foresight.

Methods
The hindcast effort was motivated by a desire to test the HEC-5Q temperature model in forecasts
for the Sacramento River Temperature Task Group against year 2020 observed data. Input data
from April 15 to October 31 (the run period of the hindcast) were used for river flows from
California Data Exchange Center and United States Geological Survey gages. Temperature targets
from the same period were set at the actual temperature at the TCD as measured. Initial vertical
temperature profiles for Shasta, Whiskeytown, and Trinity reservoirs were used from dates as close
to April 15 as possible. Observed 2020 meteorology data was compiled by RMA Engineers. A
comparison of calculated equilibrium temperature (blue) to the forecasted equilibrium temperature
used in a forecast run made on April 15 (red) at a 6-hourly time scale is shown in Figure 15.




                                                                                                  35
        100




         80




         60




 DEGF
         40




         20




              Apr                       May    Jun                  Jul                      Aug               Sep                  Oct
                                                         2020

         GERBER2SHASTA AVERAGE EQTEMP                                      GERBER2SHASTA AVERAGE EQTEMP


Figure 15. WY 2020 comparison of calculated equilibrium temperature (blue) to the forecasted equilibrium temperature used in a forecast
run made on April 15 (red) at a 6-hourly time scale
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Results
Modeled vertical temperature profiles for Shasta Lake and downstream Sacramento River
temperatures were compared to 2020 observed data. Four error metrics were calculated for each
comparison: Mean bias, Mean Average Error, Root Mean Squared Error, and Nash-Sutcliffe
Efficiency. Vertical temperature profile comparison results are shown in Table 8. Error metrics were
also calculated with the upper 30 feet of the Shasta Lake profile removed. This was for the purpose
of discounting for surface dynamics to evaluate goodness of fit at levels from which water is drawn
by the TCD (Table 9). Modeled and historical vertical temperature profiles for Shasta Lake on
7/1/2020 is shown in Figure 16. Figure 16. Modeled and observed vertical temperature profile of
Shasta Lake on 7/1/2020.

Table 8. Errors metrics used to compare modeled vertical temperature profiles for Shasta Lake and
Sacramento River temperatures to 2020 observed data. Metrics include Mean Bias, Mean Average
Error (MAE), Root Mean Squared Error (RMSE), and Nash-Sutcliffe Efficiency (NSE).
 Date       4/30      5/27       7/1     7/22      7/28       9/2       10/1       10/14      10/28
 Mean
 Bias       0.0488    0.2427     0.0358 0.2619     0.2170     0.3773    2.2361 -0.0513 -0.2159

 MAE       0.5202     0.6489     0.6033   0.8344     0.9003    1.3375     2.3708    2.2963    2.7829

 RMSE      1.0374     1.3407     1.2306   1.6406     1.8732    2.6783     3.5948    3.3519    3.4158

 NSE       0.9266     0.9444     0.9805   0.9723     0.9680    0.9364     0.8258    0.8398    0.7686



Table 9. Error metrics used to compare modeled vertical temperature profiles for Shasta Lake
(excluding the upper 30 feet) and Sacramento River temperatures to 2020 observed data. Metrics
include Mean Bias, Mean Average Error (MAE), Root Mean Squared Error (RMSE), and Nash-
Sutcliffe Efficiency (NSE).
  Date     4/30        5/27      7/1      7/22       7/28      9/2        10/1      10/14    10/28
  Mean
  Bias     -0.2111     -0.0656 -0.1936 -0.1512 -0.1661 -0.3559 1.5617 -0.9242 -0.8907

 MAE      0.2987      0.3736    0.3278     0.4723    0.4723     0.6958     1.7105   1.6558     2.4069

 RMSE 0.3983          0.6246    0.4805     0.7293    0.7152     1.0197     2.5300   2.1772     2.9237

 NSE      0.9563      0.9596    0.9926     0.9875    0.9899     0.9860     0.8813   0.9234     0.8240




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                               Modeled and Observed Vertical Temperature Profiles for
                                                   7/1/2020
                   1050

                   1000

                    950

                    900
  Elevation (ft)




                    850

                    800

                    750

                    700

                    650

                    600
                          40        45     50      55        60          65    70   75   80
                                                        Temperature (F)

                                                   modeled        historical
                                                                  observed

Figure 16. Modeled and observed vertical temperature profile of Shasta Lake on 7/1/2020.


For hindcast evaluation, modeled and actual water temperatures at three locations were compared:
Sacramento River at Keswick Dam (Figure 17), Clear Creek (Figure 18), and Balls Ferry (Figure 19).
While the Clear Creek and Balls Ferry locations exhibited low error and close matching with the
actual observed time series data, Keswick Dam forecasted model outputs were about 1-degree F
warmer than 2020 observed data throughout the time series.




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 57.0
 56.0
 55.0
 54.0
 53.0
 52.0
 51.0
 50.0
 49.0
 48.0
 47.0
 46.0
  4/15/2020     5/15/2020      6/15/2020         7/15/2020      8/15/2020   9/15/2020   10/15/2020

                                           2020 Obs KWK      Modeled KWK

Figure 17. Modeled and observed water temperatures at Keswick (KWK) from 4/15/2020 -
10/31/2020.


 58.0


 56.0


 54.0


 52.0


 50.0


 48.0


 46.0
  4/15/2020     5/15/2020      6/15/2020         7/15/2020      8/15/2020   9/15/2020      10/15/2020

                                           2020 Obs CCR      Modeled CCR

Figure 18. Modeled and observed water temperatures at Clear Creek (CCR) from 4/15/2020 -
10/31/2020.




                                                                                               39
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 58.0

 57.0

 56.0

 55.0

 54.0

 53.0

 52.0

 51.0

 50.0

 49.0

 48.0

 47.0
  4/15/2020     5/15/2020      6/15/2020         7/15/2020     8/15/2020   9/15/2020     10/15/2020

                                           2020 Obs BSF      Modeled BSF

Figure 19. Modeled and observed water temperatures at Balls Ferry (BSF) from 4/15/2020 -
10/31/2020.


This section answers the question of how well the 2020 Temperature Management Plan performed
from a cold water pool perspective. Figure 20 compares the modeled prediction of Shasta cold water
pool less than 49°F with actual conditions. The model run depicts the May 20, 2020, 90% runoff
exceedance hydrology and operations outlook with 25% meteorological conditions (conservative
assumption of a dry and warm environment). This graphic was updated weekly and provided to
SRTTG to allow for transparency and confidence in the actual performance of the Temperature
Management Plan.




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 Printed: 2020.12.09
                                          2020 Shasta Cold Water Pool Volume ≤49°F
                                          Actual
                                          May_90%Hydrology_25%L3MTO Meteorology_20200518 Temperature Target Scenario 148
                                          10% Deficit

                 1600


                 1400


                 1200


                 1000
  Volume (TAF)




                  800


                  600


                  400


                  200


                    0
                    04/30 05/14 05/28 06/11 06/25 07/09 07/23 08/06 08/20 09/03 09/17 10/01 10/15 10/29 11/12 11/26 12/10 12/24
                                                                         Date

Figure 20. Actual and Predicted Shasta Cold Water Pool Volume (less than or equal to 49F) during
the WY2020 Temperature Management Season.


Temperature Dependent Mortality Forecasts
Both Reclamation and NMFS provided water temperatures dependent egg mortality forecasts.

Reclamation’s approach uses spatially-explicit daily average Sacramento River water temperature
forecasts from the HEC-5Q model results and an empirical relationship as inputs to generate water
temperature dependent egg mortality estimates. When available, historical water temperature data is
used to capture actual observed temperature during the early water temperature management period.
Historical temperatures on the Sacramento River at Shasta Dam, Keswick Dam, above Clear Creek,
Balls Ferry, Jelly’s Ferry, and Bend Bridge are interpolated to estimate temperatures at river miles
where simulated redds were located. Between September 15 and October 31, daily water
temperatures at the simulated redds’ river miles are estimated based on an empirical relationship
between cold water pool volume less than 56°F at the end of September in Shasta Lake and water
temperatures above Clear Creek derived by Central Valley Operations. Reclamation finds this
relationship is more reliable in that time period than outputs from the HEC-5Q model (previous
evaluations suggest a stronger underestimating bias in October than September). The 90%
confidence interval value from this analysis was used as a conservative estimate. The average
difference between the simulated temperatures above Clear Creek and the simulated temperatures at


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the redds’ river miles during this period are used to adjust above Clear Creek estimated water
temperatures for each river mile.

Temperature-dependent egg mortality estimates were calculated by modeling a redd’s lifetime based
on the days required to cross a known cumulative degree-day threshold and estimating mortality as
an increasing function of water temperature past a temperature threshold. Two models were used:
(1) Martin et al (2017) for stage independent modeling whereby a single temperature threshold is
used from spawning and incubation through emergence; and (2) Anderson et al. (2018) for stage
dependent modeling for targeting different water temperatures before, during, and after the most
sensitive stages during egg incubation. The Anderson Model provides an input parameter that
factors in eggs needing more oxygen as they develop and are more sensitive immediately prior to
hatching due to increased biological demand of oxygen.

The TDM forecasting methods were applied to a set of simulated redds representative of redd
construction timing and location from 2007-2014 and the results summarized on a seasonal level for
comparison (Appendix D; Table A1). TDM estimates varied depending on the temperatures and
TDM models used (Table 10).

Table 10. Reclamation and NMFS Temperature Dependent Mortality Estimates Throughout the
WY2020 Temperature Management Season using the Stage Dependent (Anderson) and Stage
Independent (Martin) Models.
     Date       Reclamation    Reclamation     NMFS Stage      NMFS Stage      NMFS Stage        NMFS Stage
                   Stage           Stage       Independent     Independent     Independent       Independent
                Dependent      Independent     TDM Mean            TDM         TDM Lower         TDM Upper
                   TDM             TDM         Estimate (%)      Median        Estimate (%)      Estimate (%)
                 Estimate      Estimate (%)                    Estimate (%)
                    (%)
  4/22/2020         18.6            27.5            NA              NA              NA               NA
  5/20/2020         14.8            27.9            NA              NA              NA               NA
  5/25/2020         NA              NA             30.63           27.57            0.08             69.6
  6/22/2020         19.2            30.5            34.9           33.83            0.27            71.34
  7/17/2020         17.9            25.8            29.4            26.2             0.2             67.9
  8/25/2020          9.8            24.7            24.8            21.9             0.2             63.1
  9/21/2020          9.5            24.7            19.4            16.9             0.1             56.3
 10/22/2020          9.5             26            11.78            6.36            0.11            53.31

Temperature Dependent Mortality Hindcast

TDM hindcasts methods are similar to TDM forecasts described above. The SacPAS Fish model
allows modeling of spawning to emergence in the Sacramento River. Historic winter-run Chinook
salmon redd and temperature data are inputs and survival from redd to Red Bluff Diversion Dam
can be modeled as a function of stage-independent (Martin et al. 2016) or stage-dependent
(Anderson 2018) mortality. The SacPAS Fish Model was used to provide hindcast TDM estimates
described below. SacPAS is further described in the Analysis Tools section.




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Figure 21. WY 2020 distribution and timing of winter-run Chinook salmon hatching with water
temperatures using Stage Dependent Mortality Model and other model inputs described in
Appendix D; Table 2A. Winter-run Chinook salmon redds exposed to water temperatures that
exceed critical temperature threshold during hatch time in redd. Gray circles indicate winter-run
Chinook salmon redds that were not exposed to water temperatures that exceeded critical water
temperature threshold indicated in gray. Size of circles reflect number of redds (e.g., larger circles
indicate that there were a larger number of redds at the time and location.


Winter-run Chinook salmon redds further downstream are exposed to water temperatures that are
warmer. The SacPAS Fish Model has the ability to describe temperature dependent mortality for
redds in general locations. The redds downstream near Clear Creek were exposed to water
temperatures above the critical temperature (53.5°F). Water temperature dependent mortality
hindcasts for redds near Clear Creek (RKM 470) ranged from 0% to 58.2% using the Stage
Independent Mortality Model, and 19.5% to 52.4% using the Stage Dependent Mortality Model
(Appendix D; Tables 5A and 8A).

Reclamation’s Mortality forecasted estimates for overall temperature dependent mortality ranged
from 24.7% to 27.5% using the Stage Independent Model, while overall Stage Dependent Mortality
Estimates ranged from 9.5% to 19.2% (Table 5). Reclamation’s Hindcast of total TDM estimates
ranged from 3.0% to 7.2%.

Hindcast estimates for WY 2020 winter-run Chinook temperature-dependent mortality from the
NMFS Southwest Fisheries Science Center are included in Appendix E.



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        Performance Metrics
This section discusses the Upper Sacramento Performance Metrics included in the ROD for water
temperature dependent mortality and egg-to-fry survival.

Estimates of Temperature Dependent Mortality

The 2020 ROD includes the following Upper Sacramento Performance Metrics for water
temperature dependent mortality estimates:

            •   Tier 1 – Maximum (39%); Average (6%); Median (2%); Minimum (0.4%); Std. Dev
                (+/-9%)
            •   Tier 2 - Maximum (46%); Average (15%); Median (9%); Minimum (1%); Std. Dev
                (+/-16%)
            •   Tier 3 - Maximum (77%); Average (34%); Median (24%); Minimum (6%); Std. Dev
                (+/-31%)

Reclamation’s Hindcast TDM estimates ranged from 3.0% to 7.2%. These results indicate that Tier
3 performance criteria were met. Additionally, the Tier 2 Upper Sacramento River Performance
Metric for TDM was also met.

When providing forecasts of water temperature dependent egg mortality for winter-run Chinook
salmon, Reclamation and NMFS rely on previous year’s redd data and water temperature data as
inputs for these forecasts. When 2020 redd data was replaced with the redd data (2007-2014) used
for forecasted TDM estimates, Reclamation estimated TDM of 2.7% and 6.6% (Appendix D; Table
9A). These similar TDM estimates indicate that the redd data distribution used for TDM forecasts
appears to be representative of this year’s redd data distribution and captured that the majority of
the redds were upstream of the temperature compliance locations. As Figure 17, Figure 18, and
Figure 19 indicate, the water temperature models overestimated the water temperatures resulting in
an overestimate of temperature dependent egg mortality, especially at Keswick Dam. As the year
progresses, we incorporate actual temperature data as it becomes available to refine the models.

The water temperature dependent mortality hindcasts indicate that water temperature dependent egg
mortality was low this year (3.0% and 7.2%), much lower than the forecasted estimates made
throughout the water temperature management season. WY 2020 was categorized as a Tier 3. The
NMFS Biological Opinion (page 276) describes that in a Tier 3 Year, 53.5°F is expected to be
exceeded 65 percent of the days. This exposure was expected to result in an estimated water
temperature-dependent mortality in Tier 3 Years of 28 percent and 34 percent for the Anderson (i.e.,
Stage Dependent) and Martin (i.e., Stage Independent) Models. The water temperature dependent
egg mortality hindcast was much lower (3.0 and 7.2%).

Estimates of Overall Egg-to-Fry Survival at Red Bluff

Many factors contribute to early life stage survival of salmonids, such as predation, water
temperature, water quality, and density dependent effects. In 2019 and 2020, high incidences of
thiamine vitamin deficiency have been reported to contribute the mortality of early life stages of



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Chinook salmon. The ROD includes the following Upper Sacramento Performance Metrics for egg-
to-fry survival:

            •   Tier 1 - Average (29%); Maximum (49%); Minimum (15%); Median (28%); Std. Dev
                (10%)
            • Tier 2/3 - Average (21%); Maximum (34%); Minimum (15%); Median (20%); Std.
                Dev (6%)
            • Tier 4 - Appropriate performance metrics will be addressed under “Drought and
                Dry Year Actions” consistent with the “Governance” section
The information to assess winter-run Chinook salmon egg-to-fry survival is not currently available as
the brood year 2020 winter-run Chinook salmon juvenile production estimate has not yet been
released by NMFS. Reclamation may provide supplemental information with updated egg-to-fry
survival values or provide the updated values in a subsequent seasonal report.

The SacPAS Fish Model was used to estimate egg-to fry survival. Egg-to-fry survival to Red Bluff
Diversion Dam was estimated to be 20.5% and 25% using the Stage Dependent and Stage
Independent Models, respectively. For more information about input and outputs of this model run
see Appendix D Table 16A, Figure 15A. These survival estimates are consistent with our egg-to-fry
survival performance metric for Tier 2 and3 years.


        Commitment to Tier
WY 2020 was determined to be a Tier 3 year in the Water Temperature Management Plan. Tier 3
and the 2020 Temperature Management Plan’s temperature targets/locations were maintained for
the entire 2020 Sacramento River water temperature management season. There was no shift to a
warmer tier nor were there amendments to the May 2020 water temperature management plan.


        Conservation Measures
Due to concerns of a Tier 4 year during the winter of 2020, the resource agencies evaluated
Livingston Stone National Fish Hatchery intervention options. In WY 2020, there was increased
production at Livingston Stone National Fish Hatchery (Table 11 and Table 12). Reclamation
implemented the Tier 3 consideration of intervention measures to increase winter-run Chinook
salmon hatchery production at Livingston Stone National Fish Hatchery (NFH). On April 3,
Reclamation, NMFS, USFWS, and CDFW met and began discussing the intervention to increase the
winter run Chinook salmon hatchery production at Livingston Stone NFH. The March preliminary
projections/modeling indicated a high degree of uncertainty about the ability to maintain water
temperatures suitable for winter Chinook salmon spawning and egg incubation in the river, and fish
biologists believed that intervention might be needed. Since the hatchery was over halfway through
the broodstock collection period, the biologists’ view was that a decision was urgent in order to
ensure that sufficient broodstock could be collected. At that meeting, all four agencies agreed to task
a technical team with developing a plan to increase hatchery production at Livingston Stone NFH,
and on April 16, the agencies agreed to begin implementing the increased production plan.




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Table 11. Livingston Stone National Fish Hatchery Production in WY 2020.
                            CWT                                        CWT Number
  Release       Release     Tag                                           Released     Confirmed
   Start          End       Race Hatchery           Release Site     (Percent Marked) Delta Loss
                                    Livingston Sacramento River,
                                    Stone        Caldwell Park,
 3/23/2020 3/23/2020 Winter NFH                  Redding, CA         97,505 (100%)    0

                            Livingston            Sacramento River,
                            Stone                 Caldwell Park,
 3/10/2020 3/10/2020 Winter NFH                   Redding, CA           152,809 (100%)        0



Table 12. Livingston Stone National Fish Hatchery Projects in WY 2020.
                        Females Females          Males        Males     Green
Project                Collected Spawned Collected           Spawned    Eggs Eyed Eggs       Fry
Mainstem
Sacramento River            80         75         111           96     368,391     353,659 320,138
Battle Creek
Jumpstart (Battle
Creek Returns)              34         31          66           52     163,934     155,322 145,579*
Battle Creek
Jumpstart (Captive
Broodstock)                NA         136         NA            76     128,317     107,183  NA**
 *Juveniles transferred to Coleman NFH on 10/7/2020
**Eyed eggs and fry transferred to Mt. Lassen Trout Farm and Coleman NFH, respectively


Discussion
Prior to the beginning of the water temperature management season, Reclamation undertook an
intensive modeling effort for seasonal planning of reservoir releases using a conservative forecast.
Using conservative assumptions in the initial temperature modeling contributed to conservative
water temperature dependent egg mortality estimates established in the 2020 TMP, which
Reclamation began implementing on May 15, 2020. As the year progressed, Reclamation
incorporated actual water temperature data as it became available to refine the models. After the
water temperature management season ended on October 31, 2020, Reclamation completed model
hindcast evaluations to better understand the inherent model error or bias associated with the HEC-
5Q model and to determine the actual water temperature dependent mortality using 2020 redd data.
A hindcast evaluation helps determine how well the model could reproduce a condition such as
actual downstream water temperatures and the resulting error describes how well the model
performs given perfect foresight. As Figure 17, Figure 18, and Figure 19 indicate, the water
temperature models overestimated the water temperatures resulting in an overestimate of water
temperature dependent egg mortality, especially at Keswick Dam. When providing forecasts of water
temperature dependent egg mortality for winter-run Chinook salmon, Reclamation relies on
previous year’s redd data and temperature data as inputs for these forecasts. When 2020 redd data


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was replaced with the redd data (2007-2014) Reclamation used for forecasted water temperature
dependent mortality estimates, water temperature dependent mortality was estimated to be 2.7% and
6.6% (Appendix D; Table 9A). These similar water temperature dependent mortality estimates
indicate that the redd data Reclamation used for the forecasts appear to be representative of WY
2020’s redd data.

Egg mortality observed in WY 2020 may have also been influenced by other factors aside from
water temperature. In WY 2020, Reclamation analyzed potential early spring water temperature
management prior to the onset of spawning, which showed tradeoffs with potential late-fall cold
water pool benefits. Based on the forecasted Tier 3 temperature management conditions, the 2020
focus was placed on temperature management through the early fall rather than potential cooler
temperatures during the spring. It is unclear what effect early spring temperature management may
have had on winter-run Chinook salmon during the 2020 pre-spawn period. When temperatures are
warmer than is suitable for Chinook salmon spawning, the fish are less likely to spawn in those
habitats. This effect may be evaluated when considering the spring management for spawning
locations. Hydrology may have also affected spawning as tributaries were drier and there was less
suitable habitat to spawn in. In WY 2020, spawning distribution was generally similar to historical
patterns with a slight increase in the upstream reach (Keswick Dam to ACID Dam). Proportions in
the lower reaches was generally similar to historical patterns in these reaches. In WY 2020, spawning
timing started in April and ended in late August; these dates indicate that winter-run Chinook
salmon may spawn prior to the initiation of active temperature management and that emergence,
which occurs approximately 88-90 days after egg deposition, may occur after the conclusion of
active temperature management as required by the ROD. Based on the summary results described in
the Fisheries section, both the spatial and temporal requirements for Shasta cold water pool
management may over time lead to reduction in the spatial and temporal distribution of winter-run
Chinook salmon spawning in the Upper Sacramento River. Widespread wildfire activity throughout
the summer may have preserved more cold water in Shasta Lake. Smoke and haze were unusually
prevalent throughout August and September and likely reduced temperature dependent mortality by
dampening the effect of hot air temperature conditions on reservoir heating and downstream in-
river warming.

Reclamation anticipates the NMFS December Preliminary JPE letter will show egg-to-fry survival
between 10.3% - 12.5%. One factor that potentially contributed to low egg-to-fry survival this year
is thiamine deficiency complex (Harder et al. 2018). During their ocean phase, adult Chinook salmon
may have shifted their diets to feed on fish that have greater concentrations of thiaminase (thiamine-
degrading compound). Thiamine deficiency complex in adult salmon can cause high mortality in the
early life stages of their progeny (e.g., prior to emergence). During the previous two years, thiamine
deficiency complex has been reported to have impacted Chinook salmon in fish hatcheries in the
Central Valley (e.g., Feather River Fish Hatchery). Currently, the SacPAS Fish Model does not
account for thiamine deficiency impacts on egg-to-fry survival.


Improvements
Improvements listed in this section may be evaluated as potential future updates to Shasta Lake cold
water pool management, including the Shasta Cold Water Pool Guidance Document, that could
assist operations in upcoming water temperature management seasons. Improvements may also be
considered or evaluated by the four-year independent review panels.


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Modeling Improvements
Edits were made to a single HEC-5Q model parameter in an effort to rectify these errors as simply
as possible without a full model recalibration. Because Keswick Reservoir calibration was likely to be
the source of the error, the relationship between Keswick Reservoir temperature and equilibrium
temperature was revised so that modeled downstream temperatures closely matched historical
temperatures at Keswick Dam, Clear Creek, and Ball’s Ferry. Further model edits may be pursued in
the future. Because the model edits were below Shasta Dam, Lake Shasta vertical temperature profile
comparisons were unchanged. Revised downriver errors and graphs are shown below. Biases are
reduced at Keswick Dam without increasing bias to high levels at Clear Creek and Ball’s Ferry
(Table 13). The time series still roughly match in pattern at each location (Figure 22 and Figure 23).

Table 13. Updated errors metrics after model edits. Error metrics used to compare modeled vertical
temperature profiles for Shasta Lake and Sacramento River temperatures to 2020 observed data.
Metrics include Mean Bias, Mean Average Error (MAE), Root Mean Squared Error (RMSE), and
Nash-Sutcliffe Efficiency (NSE).
 Name            KESWICK          CLEAR              BALLS
                                  CREEK              FERRY
 Mean Bias       0.4041           -0.4409            -0.5783

 MAE             0.6535           0.6330             0.8193

 RMSE            0.7752           0.8981             1.1111

 NSE             -0.0561          0.3124             0.5571




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 56.0



 54.0



 52.0



 50.0



 48.0



 46.0



 44.0
  4/15/2020   5/15/2020    6/15/2020     7/15/2020     8/15/2020   9/15/2020   10/15/2020

                                 2020 Obs KWK        Modeled KWK

Figure 22. Updated modeled and observed water temperatures at Keswick (KWK) from 4/15/2020
- 10/31/2020.


 58.0


 56.0


 54.0


 52.0


 50.0


 48.0


 46.0
  4/15/2020   5/15/2020    6/15/2020    7/15/2020     8/15/2020    9/15/2020   10/15/2020

                                  2020 Obs BSF       Modeled BSF

Figure 23. Updated modeled and observed water temperatures at Balls Ferry (BSF) from 4/15/2020
- 10/31/2020.




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        Monitoring Improvements
A suite of meteorological instruments will be deployed consistent with DWR’s statewide monitoring
network: California Hydrologic Data Acquisition System Stations (HyDAS) at Shasta Dam station
SHS. Work is on-going and station completion is expected in 2021.

Due to reservoir dynamics, anchoring temperature monitoring devices is extremely challenging. A
new anchoring system at Shasta Dam was installed in 2020 and the thermistor string re-deployed for
more continuous sampling. This compliments high quality manual sampling on less frequent
intervals.


        Analysis Tools
Central Valley Prediction and Assessment of Salmon (CVPAS/SacPAS)
Reclamation provides funding support to the University of Washington to develop a webtool to
provide information integration services. The web-based services relate fish passage to
environmental conditions and provide resources for evaluating the effects of river management and
environmental conditions on salmon passage and survival. These tools will be further developed to
provide for a new system of forecasting in-season impacts of temperature and flow management.
This system will integrate existing monitoring systems and should provide insight into the biological
results and effectiveness of actions implemented as part of the Central Valley Project Improvement
Act (CVPIA), including temperature management, flow management, and potentially habitat
restoration.

SacPAS is publicly-accessible at: http://www.cbr.washington.edu/sacramento/

The SacPAS website includes the Fish Model, which predicts the timing and survival of juvenile
salmon from spawning through smolt passage into the San Francisco Bay at Chipps Island. It links
together four model systems:

       1.   CVTEMP model forecasts the temperature in the winter-run Chinook habitat
       2.   Emergence model predicts fry emergence timing and egg-to-RBDD survival
       3.   Migration Model predicts the movement and survival of smolts to the Delta
       4.   STARS model predicts the movement and survival of fish through the delta.

The current Fish Model and associated life-stage tools predict consequences of water operations on
juvenile fish passage and survival. The Fish Model will be further developed with the aim of
producing a more integrated system analysis and forecast system for fishes of the Central Valley. A
Temperature Dependent Mortality (TDM) subteam has been formed. This team should review the
input parameters in the Fish Model to determine which are best for predicting temperature
dependent mortality. After the TDM subteam determines which input parameters are the best, those
parameters can be saved as default parameters in the Fish Model to improve the user-friendliness of
the Tool.

New features are being developed that would help evaluate performance of cold water pool
management. These features include:


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           •   Sacramento River Temperature Task Group page to organize all the information that
               the SRTTG would be interested in.
           •   Figures to depict historical migration timing of Chinook salmon.
           •   Upload water velocity, flow, temperatures and other data generated from physical
               models including CVTEMP and DMS2 when made available from collaborating
               agencies. For example, short-term and long-term modeled temperature data will be
               uploaded from the NOAA CVTEMP website.
           •   Real-time redd data
           •   RBDD Passage Model: The life segment between fry emergence and RBDD passage
               is critical in determining early life survival and ultimately cohort success. The current
               Fish Model characterizes winter-run Chinook salmon survival in this segment by a
               fixed background value. Fish survival and growth will be modeled to better resolve
               time-dependent changes in survival over the migration season. The approach will use
               a stochastic movement equation that characterizes the movement, growth and
               survival of fish from fry emergence to passage at RBDD.
               The proposed RBDD Model will link the fry emergence distribution (timing,
               location) to the RBDD passage distribution (size-number-frequency) by a stochastic
               process that characterizes the protracted arrival distribution and size-frequency
               distribution of fish at RBDD. The spatio-temporal distribution of fry emergence is
               generated by the Emergence Model, and the RBDD passage data are depicted by the
               daily/weekly size-frequency distributions reported by the fish monitoring program.
               The two distributions will be linked by four free parameters of a stochastic moment
               model: fish growth rate, mean and variance of fish migration velocity, and mortality
               rate.
           •   SacPAS tutorial recording to assist users in learning how to use these tools.




Conclusion and Management Summary
The 2020 Temperature Management Plan detailed a Tier 3 performance category and specified both
temperature targets and compliance locations at CCR and Balls Ferry. Reclamation’s hindcast
temperature dependent mortality estimates ranged from 3.0% to 7.2% in WY 2020; these results
indicate that the Tier 3 Upper Sacramento River Performance Metric for temperature dependent
mortality were met. No need was identified by the agencies for an independent panel review for WY
2020.

Improvement recommendations to the guidance document and/or future operations that may be
considered include:
            • Modeling improvements to better represent water temperatures below Keswick
               Dam.
            • Monitoring improvements with meteorological instruments and thermistor at Shasta
               Dam.




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           •   Improvements to SacPAS with the development of features that may help evaluate
               performance of cold water pool management.




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Supporting Links
Sacramento River Temperature and Order 90-5 Compliance -
https://www.waterboards.ca.gov/waterrights/water_issues/programs/drought/sacramento_river/


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SRTTG Notes - https://www.usbr.gov/mp/bdo/water-year-2020-rivertask.html

WOMT Notes – https://usbr.gov/mp/bdo/water-operations-management.html

CDFW Upper Sacramento River Basin Salmonid Monitoring Program data on CalFish -
https://www.calfish.org/ProgramsData/ConservationandManagement/CDFWUpperSacRiverBasin
SalmonidMonitoring/tabid/357/Agg2208_SelectTab/4/Default.aspx

SacPAS - http://www.cbr.washington.edu/sacramento/




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